Case 0:20-cv-60719-WPD Document 260 Entered on FLSD Docket 03/16/2022 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   Case Number: 20-cv-60719-WPD

   ITAMAR MEDICAL LTD.,

            Plaintiff,
   v.

   ECTOSENSE NV,

         Defendant.
   ________________________________________/

          DEFENDANT ECTOSENSE’S NOTICE OF WITHDRAWAL OF ECF NO. 258

            Defendant Ectosense nv (“Ectosense”), by and through its undersigned counsel, hereby

   notifies the Court that Ectosense withdraws its Motion to Compel De-Designation (ECF No. 258)

   without prejudice, filed on March 11, 2021.

            Before filing the March 11 Motion, the undersigned counsel emailed Itamar’s counsel, Ana

   Romes, Esq., Laura Ganoza, Esq., and Jessica Walker, Esq. on February 17, 2022, to notify them

   that Ectosense still had not received all the documents responsive to Ectosense’s Second Request

   for Production. Additionally, on February 18, 2022, Itamar’s counsel notified Ectosense by email

   that Itamar would later produce responsive documents and also requested that Ectosense “remind”

   Itamar which request numbers the documents were responsive to, as one of Itamar’s attorneys was

   out on leave.

            On March 7, 2022, Ectosense also sent Itamar a conferral letter regarding the AEO

   designation, the subject of the Motion being withdrawn by this Notice. On Friday, March 11, 2022,

   Itamar’s counsel emailed the undersigned counsel, stating that the “rushed turn-around” (referring

   to the deadline in the conferral letter) was “unnecessary.” Yet Itamar’s counsel’s email did not




                                                   1
   2085670v1 998877.0001
Case 0:20-cv-60719-WPD Document 260 Entered on FLSD Docket 03/16/2022 Page 2 of 4




   mention any substantive issues with the AEO conferral letter whatsoever. Instead, the email stated

   that Itamar would “respond in full” to the conferral letter the following week.

            With an approaching close of discovery deadline, and with the extended time Itamar took

   simply to produce the records in question, Ectosense impressed the time sensitive nature of the

   conferrals. After having received no meaningful, comprehensive response by two days after the

   conferral letter’s deadline, Ectosense filed the subject Motion to Compel De-Designation (ECF

   No. 258) on March 11. On Monday, March 14, 2022, Itamar’s counsel requested that Ectosense

   withdraw the Motion to Compel De-Designation for the first time citing failure to comply with the

   conferral procedure in the parties’ Stipulated Protective Order (ECF No. 66), which permits Itamar

   14 days to respond to the initial conferral. Without waiving any arguments or objections in its

   defense, Ectosense hereby withdraws its Motion to Compel De-Designation (ECF No. 258).

   DATED: March 16, 2022



                                                        Respectfully submitted,

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                                                    2
   2085670v1 998877.0001
Case 0:20-cv-60719-WPD Document 260 Entered on FLSD Docket 03/16/2022 Page 3 of 4




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                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of this Notice of Withdrawal of ECF

   No. 258 has been sent via CM/ECF to all those entitled to service on March 16, 2022.

                                               By:     /s/ Seth J. Donahoe
                                                        Seth J. Donahoe

                                        SERVICE LIST
                                   CASE NO: 20-cv-60719-WPD

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                                                  3
   2085670v1 998877.0001
Case 0:20-cv-60719-WPD Document 260 Entered on FLSD Docket 03/16/2022 Page 4 of 4




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                                        4
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